        Case 1:09-cr-00041-JL   Document 26    Filed 04/28/09   Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 09-cr-41-(1/5)-JL

Sandy Rodriguez Brito et al


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

24) filed by defendant is granted.            The continuance is limited to

60 days.

      Defendant shall file a waiver of speedy trial rights within 10

days.   The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                          _______________________________
                                          Joseph N. Laplante
                                          United States District Judge

Date: April 28, 2009




cc:   Richard F. Monteith, Jr.
      Patrick Shanley, Esq.
      Liam Scully, Esq.
      Debra M. Walsh, AUSA
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation
